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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION



    DEANA VONDRISKA, et al.

           Plaintiffs,

    v.                                                  CASE NO.: 8:07-cv-1322-T-23TGW

    GERALD CUGNO and,
    PAYCHEX BUSINESS SOLUTIONS, INC.,

         Defendants.
    __________________________________/


                                             ORDER

           The plaintiffs sue under the Fair Labor Standards Act, 29 U.S.C. § 201 et seq.

    (the “FLSA”), and allege claims arising from their employment. The parties move

    (Doc. 246) for approval of a proposed settlement. See Lynn’s Food Stores, Inc. v.

    United States, 679 F.2d 1350 (11th Cir. 1982).

           The parties state that the settlement presents a bona fide compromise of the

    issue of “whether Defendants qualify as employers of Plaintiffs under the FLSA.”

    (Doc. 246, Page 5) The parties also state that each party faces substantial litigation risk

    and expense (Doc. 246, Page 5) and that the agreement includes every term of the

    settlement. See Dees v. Hydradry, Inc., 706 F.Supp.2d 1227 (M.D. Fla. 2010). The

    settlement agreement provides that the defendants will pay the plaintiffs $150,000, which

    includes attorney’s fees of $50,000, costs of $30,844, administration costs of $3,000,

    and a $500 recognition payment to each named plaintiff. (Doc. 246-2, Page 8)
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          The settlement agreement provides a “fair and reasonable resolution of a bona

    fide dispute.” Lynn’s Food Stores, 679 F.2d at 1355. Accordingly, the parties’ motion

    (Doc. 246) for approval of the settlement agreement is GRANTED, and the settlement

    agreement is APPROVED. In accord with the parties’ settlement agreement, this action

    is DISMISSED WITH PREJUDICE. The Clerk is directed to (1) terminate any pending

    motion and (2) close the case.

          ORDERED in Tampa, Florida, on May 6, 2011.




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